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                          UNITED STATES DISTRICT COURT
                          SO U TH ER N D ISTR ICT O F FL O RID A

                               CASE NO .19-CR-20624-AHS


    U M TED STA TES O F A M ER ICA

    V.

    Y UD EL G O NZA LEZ ,

                         D efendant.



                                       PLEA A G R EEM E NT

           The United States ofAm erica,by and through the Fraud Section ofthe Criminal

    Division of the Departm ent of Justice and the United States Attorney's Office for the

    Southem DistrictofFlorida (hereinafterreferred to asthe Gturlited States''),and Yudel
    Gonzalez(hereinafterrefen'
                             edtoastheIr efendanf),enterintothefollowingagreement:
                  The Defendant agrees to plead guilty to Cotmt        of the Indictm ent

    (hereinaftertheGtlndictment'').Cotmt1chargesthattheDefendantknowinglyandwillfully
    com bined,conspired,confederated,alzd agreedwith others,in violation ofTitle 18,United

    StatesCode,Section 1956(h),tocommitmoneylaundering,thatis,toknowinglyconduct
    aûnmlcialtransaction affectinginterstatecommerce,whichfinancialtrarfsactioninvolved
    theproceedsofspecified unlawfulactivity,and lfnowing thatthetransaction wasdesigned

    in whole and in pm'
                      tto concealand disguise the nature,the location,the source,the

    ownership,and the controlofthe proceeds ofspecified llnlawf'ulactivity,in violation of

    Title 18,UnitedStatesCode,Section 1956(a)(1)(B)(i).Thespecified llnlawfulactivityis
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#'




                                                      '
                                   .

     conspiracy to commithealth care f'
                                      raud,in violation of Title 18,United States Cpde,

     Section1349;healthcarefraud,inviolationofTitte18,UnitedStatesCode,Section1347;
     wirefraud,in violation ofTitle 18,Urlited States Code,Section 1343,
                                                                       .and conspiracy to

     Payandreceivehealthcarelcickbacks,inviolationofTitle18,UnitedStàtesCode,Section
     371. The Defendantacknowledgesthathehasread the chargesagainsthim contained in

     theIndictm entand thatthechargeshavebeen fully explained tohim by llisattorney. The

     United Statesagreesto seek dismissalofCounts2-10 oftheIndictm entaftersentencing.

            2.     TheDefendantisawarethatthesentencewillbeim posedby theCourt.The

     Defendanttm derstmldsand agreesthatfederalsentencing 1aw requiresthe Courtto impose

     asentencethatisreasonableandthattheCourtmustconsidertheUnited StatesSentencing

     GuidelinesandPolicyStatements(hereinaftertheGçsentencingGuidelines'')indetermining
     thatreasonablesentence.TheDefendantacknowledgesandunderstandsthattheCottt'twill

     compute an advisory sentence tmderthe Sentencing Guidelines alzd that the applicable

     guidelineswillbedeterminedby tieCourtrelying inpartontheresultsofapresentence
     investigationbytheUnitedStatesProbationOffice(Giprobation''),whichinvestigationwill
     com menceaftertheguilty pleahasbeen entered.TheDefendantisalso awarethat,under

     certain çircumstances,the Courtmay departfrom the advisory Sentencing Guidelines

     range that it has computed,and m ay raise or lower that advisory sentence under the

     Sentencing Guidelines. The Defendantis further aware and understandsthatwhile the

     Courtisrequiredtoconsidertheadvisory guidelinerangedeterm ined undertheSentencing

     Guidelines,it is not botm d to im pose that sentence. The D efendanttm derstands thatthe

     factsthatdeterm inethe offense levelwillbe found by the Courtatthetim e ofsentencing


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    and thatin m aldng those determinationsthe Cout'tmay consider mly reliable evidence,
    including hearsay,aswellasthe provisionsorstipulations in thisPlea Agreem ent. The

    Urlited States and the Defendant agree to recomm end that the Sentencing Guidelines

    should apply pursuantto United States v.Booker,thatthe Sentencing Gttidelinesprovide

    afairandjustresolutionbased on thefactsofthiscase,alzdthatnoupwardordownward
    departuresare appropriateotherthan thereductionsforacceptance ofresponsibility.The

    Courtispermitted to tailorthe ultim ate sentence in lightofotherstattztory concem s,and

    such sentencem ay be eitherm ore severe orlessseverethan the Sentencing Guidelines'

    advisory sentence.Knowingthesefacts,theDefendanttmderstandsand aclcnowledgesthat

    theCout'thastheauthority to imposeanysrntencewithinandup tothestatutorym axim um

    authorizedby 1aw fortheoffenseidentified in paragraph 1and thattheDefendantm ay not

    withdraw thepleasolely asaresultofthesentence imposed.

                  TheDefendantalso understandsand aclcnowledgesthat asto theoffenseof

    conspiracy to commitm oney latmdering,ascharged in Cotmt1,the Courtm ay impose a

    statutorymaximum term ofimprisonmentofup to twenty(20)years. ln addition toany
    period ofimprisonmqntthe Courtmay also im pose aperiod ofsupervised releaseofup to

    three(3)yearsto commenceattheconclusion oftheperiod ofimprisonment.Inaddition
    toaterm ofimprisonmentandsupervisedrelease,theCouk'tmayimposeafineofuptothe

    greaterof$250,000,ortwicethepectmiarygainorlosspursuantto 18U.S.C.j3571(d).
                  The D efendantfurther understands and acknow ledges that,in addition to

    any sentenceimposed underparagraphthree(3)ofthisAgreement,aspecialassessment
    in thetotalnmotmtof$100.00 willbe imposed on the Defendant. TheDefendantagrees

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   .   thatany specialassessm entimposed shallbepaid atthetim eofsentencing.

              5.     The D efendantunderstands and aclcnow ledgesthatas a result of thisplea,

       the Defendantw illbe excluded as a providerfrom M edicare,M edicaid,and a11federal

       health care programs. The Defendant agrees to com plete and execute a11 necessary

       documentsprovided byanydepartm entoragency ofthefederalgovernment,includingbut

       notlirpited to the United StatesDepartm entofHea1th and Hllm an Selwices,to effectuate

       thisexclusion within 60 days ofreceiving the docum ents. This exclusion willnotaffect

       Defendant'srightto applyforandreceivebenefitsasabeneficiarytmderalzy federa1health

       careprogram ,including M edicareand M edicaid.

              6.     TheDefendantrecognizesthatpleadingguiltym ayhaveconsequenceswith

       respectto theD efendant'simmigration stat'usiftheDefendantisnotanatural-bom citizen

       oftheUzlited States. Underfederallaw,abroad rangeofcrim esarerem ovable offenses,

   ,
       including thecrime to which the Defendantispleading guilty. In addition,tm dercertain

       circllm stances,denaturalization m ay also be a consequenceofpleading guilty to a crim e.

       Removal,denaturalization,and other immigration consequences are the subject of a
       separate proceeding, however, and Defendant tmderstands that no one,inclpding the

       Defendant'sattom ey ortheCourt,can predictto a certainty the effectoftheDefendant's

       conviction ontheDefendant'simm igration stattzs.TheDefendantneverthelessaffirm sthat

       theDefendantchoosesto plead guiltyregardlessofany im migration consequencesthatthe

       Defendant'splea may entail,even ifthe consequenceisthe Defendant'sdenaturalization

       and autom aticrem ovalfrom the U nited States.

                     The D efendant shall cooperate w 1114 1aw enforcem ent officials, attorneys


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    with theUrlited StatesDepartmentofJusticeand United StatesAttorney's Office forthe

    Southern DistrictofFlorida,and federalregulatory oflicials charged with regulating or

    overseeing the M edicare progrnm by providing full,complete,and trtlthfnlinfonuation

    regardingllisknowledge,conduct,and actionswhile involved in the charged conductand

    by providing activecooperation in ongoing hvestigationsifrequested to do so. Ifcalled

    upon to do so,the Defendalltshallprovide com plete mzd trtlthfultestim ony before dny

    grandjury ortrialjury in any criminalcase,in any civilproceeding ortrial,and in any
    administrativeproceedingorhearing.In cazrying outhisobligationsunderthisparagraph,

    the Defendant shallneither m inim ize lzis own involvem entnor fabricate,m irlimize,or

    exaggerate the involvem ent of others. If the Defendant intentionally provides any

    incomplete ortmtruthfulstatem ents ortestim ony,his actions shallbe deem ed a m aterial

    breach of this agreem ent and the United States shallbe 9ee to pursue allappropriate

    charges againsthim notwithstanding any agreem entsto forbear9om bringing additional

    charges asm ay be otherw ise setforth in thisagreem ent.

           8.     TheDefendantshallprovidetheProbation Offceand counselfortheUnited

    Stateswith a ft
                  z11,complete,and accuratepersonalfn'ancialstatem ent. Ifthe Defendant

    providesincompleteortmtnzthf'ulstatem entsinhispersonalfmancialstatem ent,thisaction

    shallbedeem ed amaterialbreach ofthisAgreem entandtheUnited Statesshallbefreeto

    pursueal1approptiatechargesagainstllim no> ithstandinganyagreem entstoforbearfrom

    bringing additionalchargesotherwise setforth inthisAgreem ent.

           9.     Provided that the Defendant com mits no new criminal offenses and

    provided thathe continues to demonstzate an affrmative reco> tion and affrmative

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    acceptanceofpersonalresponsibilityforhiscriminalconduct,theUnited Statesagreesthat

    itwillrecomm end atsentencing thatthe Defendantreceive a three-levelreduction for

    acceptanceofresponsibilityplzrsuantto Section 3E1.1oftheSentencing Guidelhes,based

    upon the Defendant's recognition and affrmative and tim ely acceptance of personal

    responsibility. The United States,however,willnotbe required to m akethissentencing

    recommendationiftheDefendant:(1)failsorrefusestomakeafu11,accmateandcomplete
    disclosureto Probation ofthe circum stancesstuw tmdingtherelevantoffensçconductand

    hispresentfmancialcondition;(2)isfotmd to havemisrepresented factsto the United
    StatespriortoenteringthisPleaAgreement;or(3)commitsanymisconductafterentering
    intothisPleaAgreem ent,includingbutnotlimited to comm itting astateorfederaloffense,

    violatihg any term of release, or m nking false statem ents or m isrepresentations to any

    governm entalentity orofficial.

           10.    The United Statesreserves the rightto inform the Courtmld Probation of

    al1factspertinentto the sentencing process,including allrelevantirzform ation concerning

    theoffensescomm itted,whethercharged ornot,aswellasconcelming the Defendantand

    the Defendant's backgrotmd. Subjectonly to the CXW eSS terms Of any agreed-upon
    sentencing recom mendationscontained in thisPleaAgreem ent,the United Statesfurther

    reserves the right to m alce any recom mendation as to the quality and quantity of

    ptmishment.
                  TheUnited Statesreservestherightto evaluate thenatureand extentofthe

    Defendant'scooperation andtom aketheDefendant'scooperation,orlack thereof,known

    tothe Courtatthetimeofsentencing. Ifin thesoleand lmreviewablejudgmentofthe

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    Urlited States the Defendant's cooperation is of such quality and signifk ance to the

    investigation or prosecution of other crim inalmattersto wan'
                                                                antthe Court's downward

    departure from the sentenceadvised by the Sentencl g Guidelines,the United Statesi'
                                                                                      nay
    atorbefore sentencing make a motion puzsuantto Title 18,United States Code,Section

    3553($,Section 5K1.1 ofthe Sentencing Guidelines,orsubsequentto sentencing by
    m otion pursuantto Rule35 oftheFederalRulesofCrim inalProcedtlre,reflectingthatthe

    Defendanthas provided substantialassistance and recomm ending a sentence reduction.

    TheDefendantacknowledgesand agrees,how ever,thatnothingin thisagreem entm ay be

    constnzed to require the United Statesto file such a m otion and thatthe United States'

    assessm ent of the nature, value, tzuthfulness, completeness, alzd accuzacy of the

    Defendant'scooperation shallbebinding ontheDefendant.

           12.    The Defendantunderstandsand acknowledges thatthe Courtis underno

    obligation to grantam otion by theUnited Statesptlrsualltto Title 18,United StatesCode,

    Section 3553(e),5K1.1oftheSentencing Guidelines,orRule35 oftheFederalRulesof
    CriminalProcedure,asrefenrdtoinparagraph eleven (11)oftlzisagreement,should the
    United Statesexercise itsdiscretion to file such am otion.

           13.    The Defendantadmitsand acknowledgesthatthe following factsaretrue

    arld thattheUnited Statescouldprovethem attrialbeyond areasonabledoubt:

                  (a)     Thatthe Defendantknowingly and willfully participated in the
                   conspiracy to commitm oney laundering,as chazged in Count 1 of the

                  Indicthwnt;and

                   (b)    That,asarestlltoftheDefendant'sparticipation intheconspiracy,

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                  thevalue ofthe laundered fundswasgreaterthan $550,000 butlessthan

                  $1,500,000.
                  The Defendantagreesthathewillneithermove fora downward departure,

    n0rwillhe seek avariarlce from ,the applicable Sentencing Guidelinesrangepursuantto

    thefactorssetforth inTitle 18,United StatesCode,Section 3553(a),exceptwithrespect
    to the Defendant's personalhistozy or personalcharacteristics thatare tmrelated to the

    charged conduct. The Defendantfurther agreçsthathewillnotsuggestthatthe United

    StatesProbation Officeconsideradownwarddepmtureoradjustmentorsuggestthatthe
    Courtsua sponte considera downward departure,exceptwith respectto personalhistory

    orpersonalcharacteristicslmrelatedtothecharged conduct.TheUrlited Statesagreesthat,

    althoughnotbindingupontheCourt,atthetimeofsentencingitwillrecomm endasentence

    atthe low end ofthe Sentencing G lzidelines.

           15.    The United States and the Defendantagree that,although notbinding on

    Probation orthe Court they willjointly recommend thattheCourtmake the following
    fm dingsarld conclusionsasto thesentencetobe imposed:

           (a)    BaseOffenseLevel: The Defendant's base offense levelij twentptwo
                  (22),ptzrsuantto Section 2S1.1(a)(1)and Section 2B1.1oftheSentencing
                  Guidelines;thisincludesafourteen(14)levelincreaseptusuantto Section
                  28 1.1(b)(1)(H)oftheSentencing Ouidelinesbecausethenmountoff'
                                                                              raud
                  proceedslatmderedby theDefendantwasmorethan $550,000 butlessthan

                  $1,500,000.
           (b)    M onevLatmderin/: TheDefendant'soffenselevelshallbeincreasedby

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                   two (2)levelsforaconviction under18U.S.C.Section 1956pursuantto
                   Section2S1.1(b)(2)(B).
           TOTAL OFFENSE LEVEL - UNADJUSTED

           (c)     AcceptanceofResponsibilitv:ThattheDefendant'soffenselevelshallbe
                   decreasedbythree(3)levelspursuanttoU.S.S.G.jj3E1.1(a)and3E1.1(b)
                   because the Defendanthas demonstrated acceptance ofresponsibility for

                   hisoffense arld assisted authoritiesin the investigation ofand prosecution

                   ofllis own misconductby timely notifying authorities oflzis intention to

                   enterapleaofguilty.

           TOTAL OFFENSE LEVEL - ADJUSTED

            16.    The Defendantacknowledges and understandsthatadditionalordiflkrent

    enhancements orprovisions ofthe Sentencing Guidelines m ightbe applicable,and that

    peithertheCourtnorProbationareboutldbytheparties'jointrecommendations.
                   The Defendantagrees,in an individualand any othercapacity,to forfeitto

    the United States,voltmtadly and imm ediately,ptlrsuantto Title 18,Urtited StatesCode,

    Section 982(a)(1),a1lproperty,realorpersonal,involved in the offenseto which he is
    pleading guilty,or any property traceable to such property. In addition,the defendant

    agreestoforfeitureofsubstitm epropertyptlrsuantto 21U.S.C.j 853(1$. Theproperty
    subjecttoforfeitureincludes,butisnotlimitedto,aforfeituremoneyjudgmentinthesllm
    of$852,446 in U.S.currency,which sllm representsthevalueoftheproperty subjectto
    forfeittzre.




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            18.    The Defendantalso agrees to f'ully arld truthflTlly disclose the existence,

     nature,and location ofal1assetsin which the Defendanthasorhad any directorindirect

     fm ancialinterestor control,and alzy assets involved in the offense ofconviction. The

     Defendantagrees to take a1lsteps requested by the United States for the recovery and

     forfeitureofallassetsidentifiedbytheUnitedStatesassubjecttoforfeiture.Thisincludes,
     but is notlimited to,the tim ely delivery upon request of al1necessary and appropdate

     documentation to delivergood and marketabletitle,consenting to a11ordersofforfeittlre,

     and not contesting or im peding irlany way with any crim inal,civil or admilaistrative

     forfeittlreproceeding concerning theforfeitlzre.

            19. In fartherance ofthe collection ofthe forfeimre money judgmentand
     restitutionjudgment,theDefendantagreestothefollowing:
                   (a)     TheDefendantagreesto submitaFinancialDisclostlre Statement
                   (foz'
                       m provided by the Urlited States)upon request,witllin fourteen (14)
                   calendardaysfrom thedateofsuch request.

                   (b)     TheDefendantagreesthathewillnotsell,llide,waste,encllmber,
                   destroy, or otherwise devalue any asset without prior approval of the

                    government, until the Forfeittlre M oney Judgment and his restitution

                   judgmentarepaidin fu11.TheDefendantshallalsoidentifyanytransferof
                    assets valued in excessof$10,000 since the date ofhis arrestorwhen he
                    becnme aware ofthe crim inalinvestigation,including the identity ofthe

                    asset,thevalueoftheasset,theidentityofthethirdparty towhom theasset

                    wastransferred,and thecurrentlocation oftheasset.
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                  (c)    TheDefendantagreestocooperatefullyintheinvestigationandthe
                  identifcation ofassetsto be applied toward forfeiture and restitution.,The

                  Defendantagreesthatproviding falseorincomplete illformation abouthis

                  financialassets,orhiding,selling,transfening or devaluing assets and/or

                  failing to cooperate fully in the investigation an.
                                                                    d identitk ation of assets

                  may beused asa basisfor:(i)separateprosecution,including,under18
                  U.S.C.j 1001,
                              .or (ii) recommendation of a denial of a reduction for
                  acceptr ceofresponsibilitypursuanttoSentencingGuidelinesj3E1.1.
                  (d)    TheDefendantfurtheragreestocompleteanytaskswlaichwillresult
                  in im m ediatepaym entofthe Forfeiture M oney Judgm entand the restitution

                  judgmentinfull,orfu11paymentintheshortestnmotmtoftime,asrequested
                  by thegovernm ent.

                  (e)    TheDefendantshallnotify,within 30days,theClerk ofthe Court
                  and the United States Attorney's Office of:(i) any change of nnme,
                  residence,ormailing address,and (ii)any materialchange in economic
                  circum stancesthataffectstheability to pay theForfeiture.

           20.     The Defendant acknowledges that because the offenses of conviction

     occuzred afterApril24,1996,restim tion ism andatory withoutregard to the Defendant's

     abilitytopayanèthattheCourtmustordertheDefendanttopayrestimtionforthefullloss
     causedbyhiscriminalconductpursuantto 18U.S.C.j3663A.TheUnitedStatesandthe
     D efendantagreethattheDefendantshallpay restitution to theUnited Statesinthenm otmt

     of$852,446,which shallbejointandseveralwithllisco-conspirators.,

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            21.    The Defendantis aware thatthe sentence has notyetbeen determined by

    theCotut TheDefendantisalso awarethatany estimateoftheprobablesentencingrange

     or sentence that the Defendant may receive,whether that estimate com es âom the

     Defendant'sattom ey,theUnited States,orProbation,isaprediction,notaprom ise,andis

     notbinding on the United States,Probation orthe Court. The D efendantunderstands

     furtherthatany recomm endationthattheUnited StatesmakestotheCom'tastosentencing,

     whetherpttrsuanttothisAgreem entorotherwise,isnotbindingon theCourtandtheCourt

     may disregard the recommendation in its entirety. The Defendant understands and

     acknowledges,aspreviouslyaclcnowledgedinparagraphtwo(2)above,thattheDefendant
     may notwithdraw his plea based upon the Court's decision notto accepta sentencing

     recom m endation m ade by the Defendant,the United States,ora recom mendation m ade

    jointlybyboththeDefendantandtheUnited States.
                   The Defendantis aware thatTitle 18,Urlited States Code,Section 3742

     affordsllim therightto appealthesentence imposed in thiscase.Acknowledging this,in

     excharlge for the tmdertakings m ade by the United States in this Plea Agreem ent,the

     Defendanthereby waives al1rights corlferred by Section 3742 to appealany sentence

     imposed,including any forfeitureorrestimtion ordered,orto appealthem annerin which

     thesentence wasimposed,unlessthe sentence exceedsthem u imum perm ifted by stattlte

     oristhe resultofan upward departure and/oravariance from the Sentencing Guidelines

     range thatthe Courtestablishes at sentencing. The Defendant further understandsthat

     nothing inthisAw eem entshallaffecttherightoftheUnited Statesand/oritsdutytoappeal

     assetforthinTitle18,UnitedStatesCode,Section3742419.However,iftheUnitedStates

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     appeals the Defendant's sentence ptzrsuarltto Section 3742419,the Defendantshallbe
     released from the above waiver of appellate rights. By signing this Agreem ent,the

     Defendant acknowledges that he has discussed the appeal waiver set forth in tM s

     Agreement with his attorney. The Defendantfurther agrees,together with the United

     States,to requestthattheCourtenteraspecifcfinding thattheDefendant'swaiveroflais

     rightto appealthesentenceto beim posed in thiscasewaslchowing and voluntary.

                   Forpurposesofcrim inalprosecution,tllisPleaAgreem entshallbebinding

     and enforceable upon the Fraud Section of the Crim inalDivision ofthe United States

     Departm entofJustice and theUnited StatesAttorney'sOfficefortheSouthern Districtof

     Florida. The United States doesnotrelease Defendantfrom any claim sunderTitle 26,

     Urlited StatesCode.Further,thisA greementin no way lim its,binds,orotherwfse affects

     the rights, powers or duties of any state or local 1aw enforcement agency or any

     adm inistrativeorregulatory authority.

                   Defendantagreesthatifhefailsto complywith any oftheprovisionsofthis

     Agreem ent,including the failure to tender such Agreementto the Court,m akesfalse or

     m isleading statem entsbeforetheCourtorto any agentsoftheUnited States,commitsany

     furthercrimes,orattemptsto withdraw theplea(priorto orafterpleading guilty to the
     chargesidentified in paragraph one (1)above),the Governmentwillhave the rightto
     chazacterizesuchconductasabreachofthisAweement.Intheeventofsuchabreach:(a)
     theGovernmentwillbefreefrom itsobligationsundertheAgreem entandfurtherm aytake

     whateverposition it believes appropriate as to the sentence and the conditions of the

     Defendant'srelease(forexample,shouldtheDefendantcommitalayconductafterthedate
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     of this Agreem entthatwould form the basis for allincrease in the Defendant's offense

     levelorjustify an upwld departure- exnmplesofwhich includebutarenotlimited to,
     obstnlction ofjustice,failure to appeazforacourtproceeding,criminalconductwhile
     pending sentencing,andfalsestatem entsto 1aw enforcem entagents,theProbation Ofdcer,

     orCourt- theGovennmentisfreetmderthisAgreementto seek an increasein the offense

     levelbasedonthatpost-Agreementconductl;(b)theDefendantwillnothavetherightto
     withdraw theguiltyplea;(c)theDefendarltshallbefullysubjectto crizninalprosecution
     foranyothercrimeswhich hehascommitted ormightcommit,ifany,includingperjury
     and obstruction ofjustice;and (d)the Defendantwaives any protections afforded by
     Section 1B1.8(a)ofthe SentencingGuidelines,Rule 11oftheFederalRulesofCriminal
     Procedure andRule410 oftheFederalRulesofEvidence,mld the Governm entwillbefree

     to use againstthe Defendant,directly and indirectly,in any criminalor civilproceeding

     any of the irlform ation, statements, and materials provided by him ptlrsualat to this

     Agreement,including offering into evidence or otherwise using the attached Xgreed
     Facm alBasisforGuilty Plea.
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           ThisistheentireAgreem entandtmderstandingbetween theUnited Statesand the

     Defendant.There areno otheragreements,prom ises,representationsortm derstandings.


                                          ARIAN A FA JA RD O OR SH AN
                                          U N ITED STA TES A TTO RN EY
                                          SOU THERN D ISTIU CT O F FLOR IDA

                                          ROBBR T zm K .cHlsF
                                          FRAUD sEcrrlôx.cltlMm xl-Dlvlslox
                                          u.s.DEPARTMEkT oFJusr rlcs

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       e:31-
           145                        By:
                                            A LEXA N D ER TH O R PO GO ZELSICI
                                            TRJALATTOV EY
                                            FM UD SECTIO N ,CRIM IN A L D IV ISION
                                            U .S.D EPA RT> N T O F JU STICE


     oate,oï$oi/poo,o                 B :
                                            YU     GO ZA LEZ
                                            DEFEN D AN T


     oate,or/oy/poao                  By: SER.E.C/4.r,...j
                                                BATISTA
                                                         s
                                            COU N SEL FOR THE D EFEN D AN T




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